          Case 2:18-cr-00969-JCZ Document 8 Filed 05/16/18 Page 1 of 2




gDACTh° cOPyUNITED STATES DISTRICT COURT                                          FiLED
                                WESTERN DISTRICT OF TEXAS                   ZOIOMAY 16     PN12:55

                                                                            CLI      S.   4TRICT COURT
                                                                           WESTERN   OST'     OF TEXAS


UNITED STATES OF AMERICA                          §     Cause No.:
                                                  §
                                                  §
V.                                                §     INDICTMENT
                                                  §
                                                  §     [Vio: 8 U.S.C. § 1326(a) & (b)(1)/(2):
EMILIO RODRIGUEZ-ZAPOTECAS                        §     Illegal Re-entry into the United States.]



THE GRAND JTJRY CHARGES:                                  DR 18 CR0969
                                          COUNT ONE
                                 [8 U.S.C. § 1326(a) & (b)(1)/(2)]

       That on or about April 19, 2018, in the Western District of Texas, Defendant,

                              EMILIO RODRIGUEZ-ZAPOTECAS,

an alien, attempted to enter, entered, and was found in the United States having previously been

denied admission, excluded, deported and removed from the United States on or about October 9,

2014, and that the Defendant had not received the consent of the Attorney General of the United

States and the Secretary of the Department of Homeland Security, to reapply for admission to the

United States, in violation of Title 8, United States Code, Section 1326(a) and (b)(1 )/(2).


                                                      A TRUE BILL.


                                                      FORE!'ERSON


JOHN F. BASH


By:
                    SPEARS
                     States Attorney
       Case 2:18-cr-00969-JCZ Document 8 Filed 05/16/18 Page 2 of 2




SEALED:
UNSEALED: XX

                          PERSONAL DATA SHEET
                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            DEL RIO DIVISION

                                                   DR1         TIJThi
COUNTY: MAVERICK            USAO#: 2018R08366
DATE: MAY 16, 2018          MAG. CT. #: DR18-3702M
AUSA: SARAH ELLA SPEARS
DEFENDANT: EMILIO RODRIGUEZ-ZAPOTECAS
CITIZENSHIP: MEXICO
INTERPRETER NEEDED: YES     LANGUAGE: SPANISH
DEFENSE ATTORNEY: JOSEPH CORDOVA
ADDRESS OF ATTORNEY: 2205 VETERANS BLVD., SUITE A-2, DEL RIO, TEXAS 78840
DEFENDANT IS: DETAINED      DATE OF ARREST: APRIL 19, 2018
BENCH WARRANT NEEDED: NO
PROBATION OFFICER: N/A
NAME AND ADDRESS OF SURETY: N/A
YOUTH CORRECTIONS ACT APPLICABLE: NO
PROSECUTION BY: INDICTMENT
OFFENSE: (CODE & DESCRIPTION):    8   U.S.C.   §   1326(a)(1) & (b)(1')/(2) - ILLEGAL
REENTRY AFTER DEPORTATION.
OFFENSE IS: FELONY
MAXIMUM SENTENCE: 20 YEARS IMPRISONMENT; A $250000 FiNE; 3 YEARS OF
SUPERVISED RELEASE; AND A $100 SPECIAL ASSESSMENT.
PENALTY IS MANDATORY: YES & NO
REMARKS: SEE ABOVE
W/DT-CR-3
